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                                      CLERK'S MINUTES OF ARRAIGNMENT

        Date ____08/29/2005____ Judge ______TORGERSON___ Clerk ______Mary Lou Gonzales____

        USA vs. __     CATHY FITZGERALD                                          __ Crim. No. ____05-1849 JH

        Deft. present with/without counsel__________ CLIFF McINTYRE, CJA _____
                                                  Name            Apptd/Retd
        U.S. represented by ________ JAMES BRAUN                             _________AUSA

        Deft. not present __________   Marshal called for Deft. in hallway: Yes/No
        Bench warrant issued ___________       Bond forfeited _______________
        Interpreter present:          Name of Interpreter___                ____
        Interpreter Used:             Interpreter Sworn:

        COURT ASKED THE DEFENDANT:

        ____ Name ______ Cathy Joyce Fitzgerald               ___SS#_____ 8283          ____
        ____ DOB ______ 1962                  ______ Tel. No. ___             ______________
        ____ Residence Address ________                                              ___
        ____ Extent of education/schooling ____________ 9th Grade _____________________

        Y (N) Whether she is currently or has been recently under the care of a physician or psychiatrist; if she has
              been hospitalized or treated for narcotic addiction

        (Y) N Whether she has received a copy of the Indictment
        (Y) N Whether she has had time to consult with attorney regarding penalties
        Y (N) Whether she wants Indictment read in open court
        (Y) N Whether she will waive reading of Indictment
        (Y) N Whether she is ready to plead
_X_ Defendant entered plea of not guilty to all counts
____ Defendant entered plea of not guilty to count Nos. ____________________________________________
_X__ Matter referred to USDC
_X__ Counsel ordered to file any motions by ______ 9/20/05       _________________________________
_X__ Case assigned to: HERRERA
_X_ Trial set on trailing docket_________TO BE NOTIFIED                 ________________________________
_ _ Defendant requested psychiatric examination. Instructed to file motion in USDC
_X _ Bond set/continued at ____ DEFT TO BE RELEASED W/CONDITIONS
____ Previous bond motion denied; advised to file bond appeal in USDC
____ Unseal Case
____ Penalty for failure to appear explained
_X_ Discovery Order Distributed (e-filed)
_ _ First Appearance of Defendant          MAG. TAPE NO.__05-23 ACT @ 287                        _________


CONDITIONS: $25,000 unsecured bond co-signed w/surety; Rpt to PTS; Must maintain or actively seek
employment; No contact, direct or indirect, w/co-defts; No alcohol or drugs, except Rx; deft to submit to
alcohol/drug testing, treatment and/or counseling as directed by PTS.
